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     In The United States Court of Federal Claims
                                            No. 06-587T

                                    (Filed: May 4, 2012)
                                         __________

  UNIONBANCAL CORPORATION
  & SUBSIDIARIES,

                               Plaintiff,

                        v.

  THE UNITED STATES,

                              Defendant.


                                             __________

                                              ORDER
                                             __________

      On March 12, 2012, through March 21, 2011, the court held trial in this case in
Washington, D.C. Proof in this case is now closed.

       IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
